     Case 2:21-cv-03871-RSWL-SP Document 29 Filed 10/26/21 Page 1 of 1 Page ID #:132




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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11    YOUNG JUNG,                                       )      Case No. 2:21cv03871-RSWL(SPx)
12
                                                        )
                   Plaintiff,                           )
                                                                PROPOSED ORDER TO
13          vs.                                         )       DISMISS WITH PREJUDICE
14                                                      )
      NEWREZ LLC d/b/a SHELLPOINT                       )
15
      MORTGAGE SERVICING; EQUIFAX                       )
16    INFORMATION SERVICES LLC;                         )
17
      TRANS UNION LLC; and DOES 1-10,                   )
      inclusive,                                        )
18
                   Defendant(s).                        )
19                                                      )
20

21          IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
22    this matter is dismissed in its entirety with prejudice pursuant to Federal Rule of
23    Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
24    attorneys’ fees.
25    Dated: October 26, 2021
26
                                       __/S/ RONALD S.W. LEW __________________
27
                                       Honorable Judge of the District Court
28




                                      [Proposed]Order to Dismiss - 1
